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                                                            FILED: November 5, 2010


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                       No. 07-4059 (L)
                                     (8:04-cr-00235-RWT)
                                     ___________________


        UNITED STATES OF AMERICA

                                   Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross

                                   Defendant - Appellant

                                     ___________________

                                          O R D E R
                                     ___________________

              Upon consideration of the motion to exceed the length

        limitations for briefs, the Court grants leave to file a brief

        not in excess of 39,380 words.

                                             For the Court

                                             /s/ Patricia S. Connor, Clerk
